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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater       *   MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April      *
   20, 2010                                      *   SECTION J
                                                 *
                                                 *
This document relates to:                        *   Judge Barbier
                                                 *
   All cases                                     *   Magistrate Judge Shushan
                                                 *


                            LOCAL RULE 37.1(E) CERTIFICATE

       The BP Parties’ accompanying Motion to Compel Against Transocean addresses issues

concerning Transocean’s privilege logs and its failure to properly respond to certain requests for

admission (“RFAs”). For the privilege log issues, counsel for the BP Parties sent counsel for

Transocean a letter on July 6, 2011 explaining that Transocean had waived work product

privilege over its investigation documents and had failed to establish privilege for documents

whose entries listed improper authors such as “DWH Investigation Team” and requesting a

meet-and-confer pursuant to Federal Rule of Civil Procedure 37. Transocean sent the BP Parties

correspondence on these privilege log issues on July 15 and July 20, to which the BP Parties

responded on July 15 and 21. Transocean provided a revised privilege log on July 28 pursuant to

this Court’s order. The BP Parties sent Transocean a letter on August 8 explaining that this new

privilege log continued to include improper assertions of privilege and asking if Transocean

wanted to meet-and-confer. Transocean has not responded to the BP Parties’ August 8 letter.

        For the RFAs, counsel for the BP Parties sent counsel for Transocean a letter on July 27,

2011 noting that Transocean had failed to properly answer certain RFAs and requesting

responses that complied with Federal Rule of Civil Procedure 36. Transocean responded in
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correspondence on August 10 asserting that the RFAs at issue improperly seek legal conclusions,

to which the BP Parties replied on August 11 by citing case law holding that Transocean is

required to answer the RFAs at issue. On August 19, Transocean sent correspondence stating

that its position on these RFAs was unchanged.



Date: August 22, 2011                            Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 22nd day of August, 2011.


                                                   /s/ Don K. Haycraft
                                                   Don K. Haycraft
